EXHIBIT A
Corephotonics Ltd. v. Apple Inc., Case Nos. 3:17-cv-06457-JD and 5:18-cv-02555-JD (consolidated)

U.S. Patent No. 9,185,291 is asserted in the -6475/-2555 consolidated action. U.S. Patent Nos. 9,661,233, 10,326,942, 10,356,332,
and 10,230,898 are asserted in related action 5:19-cv-4809-JD.

Corephotonics seeks to lift the stay as to the ’291 patent. All asserted claims of the ’291 patent are challenged in a pending request for
reexamination (Exhibit C).

With respect to the ’233, ’942, ’332, and ’898 patents, the PTAB issued final written decisions finding all challenged claims
unpatentable. The PTAB’s decisions have been appealed to the Federal Circuit.

       ’291 Patent                ’233 Patent                  ’942 Patent                 ’332 Patent               ’898 Patent
 1. A zoom digital         1. A multiple aperture       1. A multiple aperture      1. A dual-aperture zoom    1. A zoom digital
 camera comprising:        zoom digital camera,         zoom digital camera,        digital camera             camera comprising:
                           comprising:                  comprising:                 comprising:
 a) a Wide imaging         a) a Wide imaging            a) a Wide imaging           a) a Wide imaging          a) a Wide imaging
 section that includes a   section that includes a      section that includes a     section that includes a    section that includes a
 fixed focal length Wide Wide sensor and a fixed        Wide sensor and a fixed     fixed focal length Wide    fixed focal length Wide
 lens with a Wide field of focal length Wide lens       focal length Wide lens      lens with a Wide field     lens with a Wide field
 view (FOV), a Wide        with a Wide field of         with a Wide field of        of view FOVW and a         of view (FOV) and a
 sensor and a Wide         view (POV), the Wide         view (FOV), the Wide        Wide sensor, the Wide      Wide sensor, the Wide
 image signal processor    imaging section              imaging section             imaging section            imaging section
 (ISP), the Wide imaging operative to output a          operative to output a       operative to provide       operative to provide
 section operative to      Wide image;                  Wide image;                 Wide image data of an      Wide image data of an
 provide Wide image                                                                 object or scene;           object or scene;
 data of an object or
 scene;
b) a Tele imaging           b) a Tele imaging            b) a Tele imaging         b) a Tele imaging           b) a Tele imaging
section that includes a     section that includes a      section that includes a   section that includes a     section that includes a
fixed focal length Tele     Tele sensor and a fixed      Tele sensor and a fixed   fixed focal length Tele     fixed focal length Tele
lens with a Tele FOV        focal length Tele lens       focal length Tele lens    lens with a Tele field of   lens with a Tele FOV
that is narrower than the   with a Tele POV that is      with a Tele FOV that is   view FOVT that is           that is narrower than the
Wide FOV, a Tele            narrower than the Wide       narrower than the Wide    narrower than FOVW          Wide FOV and a Tele
sensor and a Tele ISP,      POV, the Tele imaging        FOV, the Tele imaging     and a Tele sensor, the      sensor, the Tele imaging
the Tele imaging section    section operative to         section operative to      Tele imaging section        section operative to
operative to provide        output a Tele image;         output a Tele image;      operative to provide        provide Tele image data
Tele image data of the      and                          and                       Tele image data of the      of the object or scene;
object or scene; and                                                               object or scene; and        and
c) a camera controller      c) a camera controller       c) a camera controller    c) a camera controller      c) a camera controller
operatively coupled to      operatively coupled to       operatively coupled to    operatively coupled to      operatively coupled to
the Wide and Tele           the Wide and Tele            the Wide and Tele         the Wide and Tele           the Wide and Tele
imaging sections            imaging sections             imaging sections and      imaging sections            imaging sections
                                                         configured,
the camera controller       c) a camera controller ...   [Claim 9] wherein the     [Claim 12] wherein the      [Claim 11] herein the
configured to combine       configured to reduce an      camera controller is      camera controller is        camera controller is
in still mode at least      image jump effect seen       further configured to     further configured to       further configured to
some of the Wide and        in video output images       combine, when in still    combine in still mode,      combine in still mode,
Tele image data to          and to provide               mode, at least some of    at a predefined range of    at a predefined range of
provide a fused output      continuous zoom video        the Wide and Tele         ZF values, at least some    ZF values, at least some
image of the object or      output images by             image data to provide a   of the Wide and Tele        of the Wide and Tele
scene from a particular     executing registration       fused output image        image data to provide a     image data to provide a
point of view and to        between the Wide and                                   fused output image of       fused output image of
provide without fusion      Tele images for              [claim 13] wherein the    the object or scene from    the object or scene from
continuous zoom video       performing position          camera controller is      a particular point of       a particular point of
mode output images of       matching to the video        further configured to     view.                       view.
the object or scene, each   output images when           combine, when in still
output image having a       switching from an            mode, at least some of
respective output           output of the Tele           the Wide and Tele
resolution;                 imaging section to an        image data to provide a
                            output of the Wide           fused output image
                           imaging section or vice
                           versa.




wherein the video          [Claim 7] wherein the     [Claim 4] wherein the
output images are          switching is between a    switching is between a
provided with a smooth     lower zoom factor (ZF)    lower zoom factor (ZF)
transition when            value and a higher ZF     value and a higher ZF
switching between a        value or vice versa,      value or vice versa,
lower zoom factor (ZF)     wherein each output       wherein each Wide
value and a higher ZF      image has a respective    image and Tele image
value or vice versa,       output resolution         has a respective output
                                                     resolution,
wherein at the lower ZF  [Claim 7] wherein at the    [Claim 4] wherein at the
value the output         lower ZF value the          lower ZF value the
resolution is determined output resolution is        output resolution is
by the Wide sensor, and  determined by the Wide      determined by the Wide
                         sensor                      sensor
wherein at the higher ZF [Claim 7] wherein at the    [Claim 4] wherein at the
value the output         higher ZF value the         higher ZF value the
resolution is determined output resolution is        output resolution is
by the Tele sensor.      determined by the Tele      determined by the Tele
                         sensor.                     sensor.
12. A method for         10. A method for            19. A method for          1. A dual-aperture zoom   1. A zoom digital
obtaining zoom images providing video digital        providing a digital video digital camera            camera comprising:
of an object or scene in output in a multiple        output in a multiple      comprising:
both still and video       aperture zoom digital      aperture zoom digital
modes using a digital      camera, comprising         camera, comprising
camera, the method         steps of:                  steps of:
comprising the steps of:
a) providing in the        a) providing a Wide        a) providing a Wide   a) a Wide imaging           a) a Wide imaging
digital camera a Wide      imaging section that       imaging section that  section that includes a     section that includes a
imaging section having     includes a Wide sensor     includes a Wide sensorfixed focal length Wide     fixed focal length Wide
a Wide lens with a Wide    and a fixed focal length   and a fixed focal length
                                                                            lens with a Wide field      lens with a Wide field
field of view (FOV), a     Wide lens with a Wide      Wide lens with a Wide of view FOVW and a          of view (FOV) and a
Wide sensor and a Wide     field of view (FOV), the   field of view (FOV), the
                                                                            Wide sensor, the Wide       Wide sensor, the Wide
image signal processor     Wide imaging section       Wide imaging section  imaging section             imaging section
(ISP),                     operative to output a      operative to output a operative to provide        operative to provide
                           Wide image;                Wide image;           Wide image data of an       Wide image data of an
                                                                            object or scene;            object or scene;
a Tele imaging section   b) providing a Tele       b) providing a Tele      b) a Tele imaging           b) a Tele imaging
having a Tele lens with imaging section that       imaging section that     section that includes a     section that includes a
a Tele FOV that is       includes a Tele sensor    includes a Tele sensor   fixed focal length Tele     fixed focal length Tele
narrower than the Wide and a fixed focal length and a fixed focal length lens with a Tele field of      lens with a Tele FOV
FOV, a Tele sensor and Tele lens with a Tele       Tele lens with a Tele    view FOVT that is           that is narrower than the
a Tele ISP, and a camera FOV that is narrower      FOV that is narrower     narrower than FOVW          Wide FOV and a Tele
controller operatively   than the Wide FOV, the than the Wide FOV, the and a Tele sensor, the           sensor, the Tele imaging
coupled to the Wide and Tele imaging section       Tele imaging section     Tele imaging section        section operative to
Tele imaging sections;   operative to output a     operative to output a    operative to provide        provide Tele image data
and                      Tele image; and           Tele image; and          Tele image data of the      of the object or scene;
                                                                            object or scene; and        and
b) configuring the       c) utilizing a controller c) when providing video c) a camera controller       c) a camera controller
camera controller to     for reducing an image     output images, utilizing operatively coupled to      operatively coupled to
combine in still mode at jump effect seen in       a camera controller      the Wide and Tele           the Wide and Tele
least some of the Wide   video output images and operatively coupled to     imaging sections and        imaging sections and
and Tele image data to   for providing             the Wide and Tele        configured to evaluate if   configured to evaluate if
provide a fused output   continuous zoom video imaging sections to          a no-switching criterion    a no-switching criterion
image of the object or   output images, by         reduce an image jump     is fulfilled or not         is fulfilled or not
scene from a particular  executing, with the help effect seen in the video  fulfilled, wherein at a     fulfilled, wherein if the
point of view, and to       of the controller,         output images when          zoom factor (ZF) value      no-switching criterion is
provide without fusion      registration between the   switching from a Wide       greater than a zoom         fulfilled in a zoom-in
continuous zoom video       Wide and Tele images       image to a Tele image       factor ZFT=tangent          operation between a
mode output images of       for performing position    by shifting the Tele        (FOVWide)/tangent           lower zoom factor (ZF)
the object or scene, each   matching to the video      image relative to the       (FOVTele), if the no-       value and a higher ZF
output image having a       output images when         Wide image according        switching criterion is      value at a zoom factor
respective output           switching from an          to a distance of an         fulfilled the camera        (ZF) higher than an up-
resolution,                 output of the Tele         object in a Tele image      controller is further       transfer ZF, the camera
                            imaging section to an      region of interest (ROI),   configured to output a      controller is further
                            output of the Wide         and/or to reduce an         zoom video output           configured to output a
                            imaging section or vice    image jump effect seen      image that includes only    zoom video output
                            versa.                     in the video output         digitally-zoomed Wide       image that includes only
                                                       images when switching       image data, and if the      Wide image data, and
                                                       from a Tele image to a      no-switching criterion is   wherein if the no-
                                                       Wide image by shifting      not fulfilled, the camera   switching criterion is
                                                       the Wide image relative     controller is further       not fulfilled, the camera
                                                       to the Tele image           configured to output a      controller is further
                                                       according to a distance     zoom video output           configured to output a
                                                       of an object in a Wide      image that includes only    zoom video output
                                                       image ROI.                  transformed, digitally      image that includes only
                                                                                   zoomed Tele image           transformed, digitally
                                                                                   data.                       zoomed Tele image
                                                                                                               data.
wherein the video mode      [claim 16] wherein the     [claim 22] wherein the
output images are           switching is between a     switching is between a
provided with a smooth      lower zoom factor (ZF)     lower zoom factor (ZF)
transition when             value and a higher ZF      value and a higher ZF
switching between a         value or vice versa,       value or vice versa,
lower zoom factor (ZF)      wherein each output        wherein each Tele
value and a higher ZF       image has a respective     image and Wide image
value or vice versa, and    output resolution,         has a respective output
wherein at the lower ZF     wherein at the lower ZF    resolution, wherein at
value the output            value the output           the lower ZF value the
resolution is determined   resolution is determined   output resolution is
by the Wide sensor         by the Wide sensor and     determined by the Wide
while at the higher ZF     wherein at the higher ZF   sensor and wherein at
value the output           value the output           the higher ZF value the
resolution is determined   resolution is determined   output resolution is
by the Tele sensor.        by the Tele sensor.        determined by the Tele
                                                      sensor.
